      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 1 of 23 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEGEND PICTURES, LLC,

      Plaintiff,                                              Civil Action No.: 1:21-cv-05466

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

      Defendants.

                                           COMPLAINT

       Plaintiff, LEGEND PICTURES, LLC (“LEGEND PICTURES”), hereby files this

Complaint against the Partnerships and Unincorporated Associations identified on Schedule A

attached hereto (collectively, “Defendants”), and hereby alleges as follows:

                                 JURISDICTION AND VENUE
       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Federal Copyright Act,

17 U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

§ 1367(a), because the state law claims are so related to the federal claims that they form part of

the same case or controversy and derive from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant or the online marketplace accounts

identified in Schedule A attached hereto (collectively, the “Defendant Online Stores”).

                                                  1
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 2 of 23 PageID #:2




Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive Internet Stores through which Illinois residents can purchase

products bearing counterfeit versions of LEGEND PICTURES’ Trademarks and/or Copyrights.

Each of the Defendants has targeted sales from Illinois residents by operating online stores that

offer shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of LEGEND PICTURES’

federally registered trademarks to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused LEGEND

PICTURES substantial injury in the State of Illinois.

        3.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

judicial district.

                                        INTRODUCTION
        4.       This action has been filed by LEGEND PICTURES to combat online counterfeiters

who trade upon LEGEND PICTURES’ reputation and goodwill by selling and/or offering for sale

products in connection with LEGEND PICTURES’ PACIFIC RIM Trademarks and Copyrights,

which are covered by U.S. Trademark Registration Nos. 5,840,140; 5,840,142; 6,195,470;

6,205,935 (the “PACIFIC RIM Trademarks”) and U.S. Copyright Registration Nos.

PA0001859894 and PA0002091781 (the “PACIFIC RIM Works”). The trademark registrations

are valid, subsisting, unrevoked, uncancelled, and in full force and effect. The registrations for the

trademarks constitute prima facie evidence of validity and of LEGEND PICTURES’ exclusive

right to use the trademarks pursuant to 15 U.S.C. § 1057(b). Genuine and authentic copies of the

U.S. federal trademark registration certificates for the PACIFIC RIM Trademarks are attached as

                                                  2
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 3 of 23 PageID #:3




Exhibit 1. Genuine and authentic copies of the U.S. federal copyright registration certificates for

the PACIFIC RIM Copyrights are attached as Exhibit 2.

       5.      Counterfeit PACIFIC RIM Products, primarily toys coming from China, can be

extremely dangerous and present alarming safety hazards to children. LEGEND PICTURES’

PACIFIC RIM Products are recognized as a symbol high quality films and merchandise originating

from Plaintiff. Plaintiff’s film grossed $400 million internationally and became a huge box office

success overseas. Defendants are selling unauthorized products derived from the copyrighted

subject matter created by LEGEND PICTURES using Plaintiff’s Trademarks.

       6.      In the past, LEGEND PICTURES was able to police its marks against identifiable

infringers and counterfeiters. The rise of online retailing, coupled with the ability of e-commerce

sites to hide their identities, has made it nearly impossible for policing actions to be undertaken.

The company has availed itself of takedown procedures to remove infringing products, but these

efforts have proved to be an unavailing game of whack-a-mole against the mass counterfeiting that

is occurring over the Internet. The aggregated effect of the mass counterfeiting that is taking place

has overwhelmed LEGEND PICTURES and its ability to police its rights against the hundreds of

anonymous defendants which are selling illegal counterfeits at prices substantially below an

original:

//




//




                                                 3
Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 4 of 23 PageID #:4




                                  ORIGINAL




  https://www.amazon.com/stores/page/F3FA91AC-294B-41E3-A886-174AFB284C7B


                             COUNTERFEIT




                                   4
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 5 of 23 PageID #:5




       7.      The above example evidences a cooperative counterfeiting network using fake

eCommerce store fronts designed to appear to be selling authorized products. To be able to offer

the counterfeit products at a price substantially below the cost of original, while still being able to

turn a profit after absorbing the cost of manufacturing, advertising and shipping requires an

economy of scale only achievable through a cooperative effort throughout the supply chain. As

Homeland Security’s recent report confirms, counterfeiters act in concert through coordinated

supply chains and distribution networks to unfairly compete with legitimate brand owners while

generating huge profits for the illegal counterfeiting network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked
       through vast e-commerce supply chains in concert with marketing, sales, and
       distribution networks. The ability of e-commerce platforms to aggregate
       information and reduce transportation and search costs for consumers provides a
       big advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural geographical
       sales area.
                                                 ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.
                                                 ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.




                                                  5
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 6 of 23 PageID #:6




 See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
 Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
 goods), at 10, 19 (emphasis added) attached hereto as Exhibit 3.

        8.      The Defendant Online Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants use aliases to avoid liability by

going to great lengths to conceal both their identities as well as the full scope and interworking of

their illegal network. Despite deterrents such as takedowns and other measures, the use of aliases

enables counterfeiters to stymie authorities:

        The scale of counterfeit activity online is evidenced as well by the significant efforts
        e-commerce platforms themselves have had to undertake. A major e-commerce
        platform reports that its proactive efforts prevented over 1 million suspected bad
        actors from publishing a single product for sale through its platform and blocked
        over 3 billion suspected counterfeit listings from being published to their
        marketplace. Despite efforts such as these, private sector actions have not been
        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                  ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                  ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.


Id. at 5, 11, 12.

                                                   6
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 7 of 23 PageID #:7




       9.      eCommerce giant Alibaba has also made public its efforts to control counterfeiting

on its platform. It formed a special task force that worked in conjunction with Chinese authorities

for a boots-on the ground effort in China to stamp out counterfeiters. In describing the

counterfeiting networks, it uncovered, Alibaba expressed its frustration in dealing with “vendors,

affiliated dealers and factories” that rely upon fictitious identities that enable counterfeiting rings

to play whack-a-mole with authorities:




See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017),
available at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 4).

       10.     LEGEND PICTURES has been and continues to be irreparably damaged through

consumer confusion, loss of control over its reputation and good-will as well as the quality of

                                                  7
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 8 of 23 PageID #:8




goods bearing the PACIFIC RIM Trademarks and Works. The rise of eCommerce as a method of

supplying goods to the public exposes brand holders and creators that make significant investments

in their products to significant harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of
       Homeland Security (DHS) between 2000 and 2018 shows that seizures of
       infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
       year to 33,810.
                                                 …

       The rise in consumer use of third-party marketplaces significantly increases the
       risks and uncertainty for U.S. producers when creating new products. It is no longer
       enough for a small business to develop a product with significant local consumer
       demand and then use that revenue to grow the business regionally, nationally, and
       internationally with the brand protection efforts expanding in step. Instead, with the
       international scope of e-commerce platforms, once a small business exposes itself
       to the benefits of placing products online — which creates a geographic scope far
       greater than its more limited brand protection efforts can handle — it begins to face
       increased foreign infringement threat.

                                                      ...

       Moreover, as costs to enter the online market have come down, such market entry
       is happening earlier and earlier in the product cycle, further enhancing risk. If a new
       product is a success, counterfeiters will attempt, often immediately, to outcompete
       the original seller with lower-cost counterfeit and pirated versions while avoiding
       the initial investment into research and design.
                                                ...
       Counterfeiters have taken full advantage of the aura of authenticity and trust that
       online platforms provide. While e-commerce has supported the launch of thousands
       of legitimate businesses, their models have also enabled counterfeiters to easily
       establish attractive “store-fronts” to compete with legitimate businesses.


See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 3)
at 4, 8, 11.

                                                 8
      Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 9 of 23 PageID #:9




        11.     Not only are the creators and brand holders harmed, the public is harmed as well:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers.
        The President’s historic memorandum provides a much warranted and long overdue
        call to action in the U.S. Government’s fight against a massive form of illicit trade
        that is inflicting significant harm on American consumers and businesses. This
        illicit trade must be stopped in its tracks.
Id. at 3, 4. (Underlining in original).

        12.          LEGEND PICTURES’ investigation shows that the telltale signs of an illegal

counterfeiting ring are present in the instant action. For example, Schedule A shows the use of

store names by the Defendant Online Stores that employ no normal business nomenclature and,

instead, have the appearance of being made up, or if a company that appears to be legitimate is

used, online research shows that there is no known address for the company. Thus, the Defendant

Online Stores are using fake online storefronts designed to appear to be selling genuine PACIFIC

RIM Products, while selling inferior imitations. The Defendant Online Stores also share unique

identifiers, such as design elements and similarities of the counterfeit products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ illegal operations

arise out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid liability by going to great lengths to conceal both their identities and the full scope

and interworking of their illegal counterfeiting operation. LEGEND PICTURES is forced to file

this action to combat Defendants’ counterfeiting of LEGEND PICTURES’ registered Trademarks,

as well as to protect unknowing consumers from purchasing unauthorized PACIFIC RIM Products

over the Internet.


                                                   9
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 10 of 23 PageID #:10




        13.         This Court has personal jurisdiction over each Defendant, in that each

Defendant conducts significant business in Illinois and in this judicial district, and the acts and

events giving rise to this lawsuit of which each Defendant stands accused were undertaken in

Illinois and in this judicial district. In addition, each defendant has offered to sell and ship

infringing products into this judicial district.

                                          THE PLAINTIFF

        14.         LEGEND PICTURES, LLC, is a domestic company having its principal place

of business 2900 W. Alameda Ave, Suite 1500, Burbank, California 91505.

        15.         LEGEND PICTURES has been engaged in the business of creating, distributing

and retailing a variety of multimedia content for over 15 years, including comic books, television

shows, and major motion pictures.

        16.         LEGEND PICTURES is also in the business of developing, marketing, selling

and distributing PACIFIC RIM Products. PACIFIC RIM is a 2013 American science-fiction

monster film directed by Guillermo del Toro. The film was released in 2D and 3D in selected

theaters and IMAX. PACIFIC RIM received generally positive reviews, and it became a huge box

office success overseas. The PACFIC RIM film grossed over $400 million internationally and has

been recognized by Forbes as "the rare English-language film in history to cross $400 million

while barely crossing $100 million domestic." LEGEND PICTURES, LLC is the official source

of PACIFIC RIM Products.

        17.         LEGEND PICTURES’ brand, symbolized by the PACIFIC RIM Trademarks,

is a recognized symbol of high-quality merchandise. The PACIFIC RIM Trademarks are

distinctive and identify the merchandise as goods from LEGEND PICTURES. The registrations

for the PACIFIC RIM Trademarks constitute prima facie evidence of their validity and of



                                                   10
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 11 of 23 PageID #:11




LEGEND PICTURES’ exclusive right to use the PACIFIC RIM Trademarks pursuant to 15 U.S.C.

§ 1057 (b).

       18.          The PACIFIC RIM Trademarks have been continuously used and never

abandoned.

       19.          LEGEND PICTURES has expended substantial time, money, and other

resources in developing, advertising, and otherwise promoting the PACIFIC RIM Trademarks and

Works. As a result, products bearing the PACIFIC RIM Trademarks and Works are widely

recognized and exclusively associated by consumers, the public, and the trade as being products

sourced from LEGEND PICTURES.

                                       THE DEFENDANTS
       20.          Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this judicial district, through

the operation of the fully interactive commercial websites and online marketplaces operating under

the Defendant Online Stores. Each Defendant targets the United States, including Illinois, and

offered to sell and, on information and belief, sold and continues to sell counterfeit PACIFIC RIM

Products to consumers within the United States, including Illinois and in this judicial district.

                       THE DEFENDANTS’ UNLAWFUL CONDUCT
       21.          The success of the PACIFIC RIM brand has resulted in its significant

counterfeiting. Defendants conduct their illegal operations through fully interactive commercial

websites and Online Marketplaces Accounts hosted on various e-commerce sites, such as Amazon,

Alibaba, AliExpress, etc. (“Infringing Websites” or “Infringing Webstores”). Each Defendant

targets consumers in the United States, including the State of Illinois, and offered to sell and, on

information and belief, sold and continues to sell counterfeit products that violate Plaintiffs’

                                                  11
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 12 of 23 PageID #:12




intellectual property rights (“counterfeit products”) to consumers within the United States,

including the State of Illinois.

        22.        The Defendant Online Stores intentionally conceal their identities and the full

scope of their counterfeiting operations in an effort to deter LEGEND PICTURES from learning

Defendants’ true identities and the exact interworking of Defendants’ illegal counterfeiting

operations. Through their operation of the Infringing Webstores, Defendants are directly and

personally contributing to, inducing and engaging in the sale of counterfeit products as alleged,

often times as partners, co-conspirators and/or suppliers. Upon information and belief, Defendants

are an interrelated group of counterfeiters working in active concert to knowingly and willfully

manufacture, import, distribute, offer for sale, and sell counterfeit products.

        23.        Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of LEGEND PICTURES’ ownership of the PACIFIC RIM

Trademarks and Works, including its exclusive right to use and license such intellectual property

and the goodwill associated therewith.

        24.        Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Online Stores. Upon information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Online Store

registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

        25.        The counterfeit PACIFIC RIM Products for sale in the Defendant Online Stores



                                                 12
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 13 of 23 PageID #:13




bear similarities and indicia of being related to one another, suggesting that the counterfeit

PACIFIC RIM Products were manufactured by and come from a common source and that, upon

information and belief, Defendants are interrelated. The Defendant Online Stores also include

other notable common features, including use of the same store registration patterns, unique

shopping cart platforms, accepted payment methods, check-out methods, meta data, illegitimate

SEO tactics, HTML user-defined variables, lack of contact information, identically or similarly

priced items and volume sales discounts, similar hosting services, similar name servers, and the

use of the same text and images.

       26.         In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often register

new stores or online marketplace accounts under new aliases once they receive notice of a lawsuit.

Counterfeiters also often move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown demands

sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2019 U.S.

Customs and Border Protection report on seizure statistics indicated that E-Commerce sales have

contributed to large volumes of low-value packages imported into the United States. Department

of    Homeland        Security,     Intellectual        Property   Rights,     September       2020.

(https://www.cbp.gov/sites/default/files/assets/documents/2020-

Sep/FY%202019%20IPR%20Statistics%20Book%20%28Final%29.pdf), at 12 attached hereto as

Exhibit 5. In FY 2019, there were 144 million express shipments and 463 million international

mail shipments. Over 90 percent of all intellectual property seizures occur in the international mail



                                                   13
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 14 of 23 PageID #:14




and express environments. Id.

       27.         Further, counterfeiters such as Defendants, typically operate multiple credit

card merchant accounts and third-party accounts, such as PayPal, Inc. ("PayPal") accounts, behind

layers of payment gateways so that they can continue operation in spite of LEGEND PICTURES’

enforcement efforts. Upon information and belief, Defendants maintain off-shore bank accounts

and regularly move funds from their PayPal accounts to off-shore bank accounts outside the

jurisdiction of this Court. Indeed, analysis of PayPal transaction logs from previous similar cases

indicates that offshore counterfeiters regularly move funds from U.S.-based PayPal accounts to

China-based bank accounts outside the jurisdiction of this Court.

       28.         Upon information and belief, Defendants also deceive unknowing consumers

by using the PACIFIC RIM Trademarks without authorization within the content, text, and/or meta

tags of their websites to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for PACIFIC RIM Products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Online Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine PACIFIC RIM Products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new websites to the top of search

results after others are shut down. As such, Plaintiff also seeks to disable Defendant Online Stores

owned by Defendants that are the means by which the Defendants could continue to sell counterfeit

PACIFIC RIM Products.

       29.         Defendants’ use of the PACIFIC RIM Trademarks and Works on or in

connection with the advertising, marketing, distribution, offering for sale and sale of the

counterfeit products is likely to cause and has caused confusion, mistake and deception by and



                                                14
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 15 of 23 PageID #:15




among consumers and is irreparably harming LEGEND PICTURES. Defendants have

manufactured, imported, distributed, offered for sale and sold counterfeit products using the

PACIFIC RIM Trademarks and Works and continue to do so.

        30.        Defendants, without authorization or license from LEGEND PICTURES,

knowingly and willfully used and continue to use the PACIFIC RIM Trademarks and Works in

connection with the advertisement, offer for sale and sale of the counterfeit products, through, inter

alia, the Internet. The counterfeit products are not genuine PACIFIC RIM Products. LEGEND

PICTURES did not manufacture, inspect or package the counterfeit products and did not approve

the counterfeit products for sale or distribution. The Defendant Online Stores offer shipping to the

United States, including Illinois, and, on information and belief, each Defendant sold counterfeit

products into the United States, including Illinois.

        31.        Upon information and belief, Defendants will continue to register or acquire

listings for the purpose of selling Counterfeit Goods that infringe upon the PACIFIC RIM

Trademarks and Works unless preliminarily and permanently enjoined.

        32.        Defendants’ use of the PACIFIC RIM Trademarks and Works in connection

with the advertising, distribution, offering for sale, and sale of counterfeit PACIFIC RIM Products,

including the sale of counterfeit PACIFIC RIM Products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        33.         LEGEND PICTURES repeats and incorporates by reference herein its

allegations contained in the above paragraphs of this Complaint.

        34.        This is a trademark infringement action against Defendants based on their


                                                 15
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 16 of 23 PageID #:16




unauthorized use in commerce of counterfeit imitations of the registered PACIFIC RIM

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The PACIFIC RIM Trademarks are highly distinctive. Consumers have come to

expect the highest quality from LEGEND PICTURES’ Products provided under the PACIFIC

RIM Trademarks.

          35.      Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the PACIFIC RIM Trademarks without LEGEND PICTURES’ permission.

          36.      LEGEND PICTURES is the exclusive owner of the PACIFIC RIM Trademarks.

LEGEND PICTURES’ United States Registration for the PACIFIC RIM Trademarks (Exhibit 1)

is in full force and effect. Upon information and belief, Defendants have knowledge of LEGEND

PICTURES’ rights in the PACIFIC RIM Trademarks, and are willfully infringing and intentionally

using counterfeits of the PACIFIC RIM Trademarks. Defendants’ willful, intentional and

unauthorized use of the PACIFIC RIM Trademarks is likely to cause and is causing confusion,

mistake, and deception as to the origin and quality of the counterfeit goods among the general

public.

          37.      Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

          38.      LEGEND PICTURES has no adequate remedy at law, and if Defendants’

actions are not enjoined, LEGEND PICTURES will continue to suffer irreparable harm to its

reputation and the goodwill of its well-known PACIFIC RIM Trademarks.

          39.      The injuries and damages sustained by LEGEND PICTURES have been

directly and proximately caused by Defendants’ wrongful reproduction, use, advertisement,



                                                16
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 17 of 23 PageID #:17




promotion, offering to sell, and sale of counterfeit PACIFIC RIM Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       40.         LEGEND PICTURES repeats and incorporates by reference herein the

allegations contained in the above paragraphs of this Complaint.

       41.         Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

PACIFIC RIM Products created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with LEGEND

PICTURES or the origin, sponsorship, or approval of Defendants’ counterfeit PACIFIC RIM

Products by LEGEND PICTURES.

       42.        By using the PACIFIC RIM Trademarks in connection with the sale of

counterfeit PACIFIC RIM Products, Defendants create a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the counterfeit PACIFIC RIM

Products.

       43.        Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit PACIFIC RIM Products to the general public is a

willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       44.        LEGEND PICTURES has no adequate remedy at law and, if Defendants’

actions are not enjoined, LEGEND PICTURES will continue to suffer irreparable harm to its

reputation and the goodwill of its brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       45.         LEGEND PICTURES repeats and incorporates by reference herein its

allegations contained in the above paragraphs of this Complaint.


                                               17
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 18 of 23 PageID #:18




       46.          Defendants have engaged in acts violating Illinois law including, but not

limited to, passing off their counterfeit PACIFIC RIM Products as those of LEGEND PICTURES,

causing a likelihood of confusion and/or misunderstanding as to the source of their goods, causing

a likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine PACIFIC RIM Products, representing that their products have LEGEND

PICTURES’ approval when they do not, and engaging in other conduct which creates a likelihood

of confusion or misunderstanding among the public.

       47.         The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       48.         LEGEND PICTURES has no adequate remedy at law, and Defendants’ conduct

caused LEGEND PICTURES to suffer damage to its reputation and goodwill. Unless enjoined by

the Court, LEGEND PICTURES will suffer future irreparable harm as a direct result of

Defendants’ unlawful activities.

                                   COUNT IV
                     COPYRIGHT INFRINGEMENT 17 U.S.C. § 501(a)

       49.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

       50.         The PACIFIC RIM Copyrights have significant value and have been produced

and created at considerable expense. Plaintiff is the owner of the original PACIFIC RIM films,

which are covered by Copyright Registrations. (Exhibit 2).

       51.         Plaintiff, at all relevant times, has been the holder of the pertinent exclusive

rights infringed by Defendants, as alleged hereunder, including but not limited to the PACIFIC

RIM Copyrights, including derivative works.

       52.         Upon information and belief, Defendants had access to the PACIFIC RIM

                                                  18
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 19 of 23 PageID #:19




Works through Plaintiff’s normal business activities. After accessing Plaintiff’s Works,

Defendants wrongfully created copies of the copyrighted PACIFIC RIM films without Plaintiff’s

consent and engaged in acts of widespread infringement through posting the infringing derivative

works via online websites and digital markets, and the creation and sale of prints.

         53.        Plaintiff is informed and believes and thereon alleges that Defendants further

infringed Plaintiff’s Copyrights by making or causing to be made derivative works from the

PACIFIC RIM Works by producing and distributing reproductions without Plaintiff’s permission.

         54.        Defendants, without the permission or consent of Plaintiff, have, and continue

to sell online infringing derivative works of the copyrighted PACIFIC RIM Works. Defendants

have violated Plaintiff’s exclusive rights of reproduction and distribution. Defendants’ actions

constitute an infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

         55.        Further, as a direct result of the acts of copyright infringement, Defendants have

obtained direct and indirect profits they would not otherwise have realized but for their

infringement of the copyrighted PACIFIC RIM Works. Plaintiff is entitled to disgorgement of

Defendants’ profits directly and indirectly attributable to their infringement of the PACIFIC RIM

Works.

         56.        The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

         57.        As a result of Defendants’ infringement of Plaintiff’s exclusive rights under the

copyright statute, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504.

         58.        The conduct of Defendants is causing and, unless enjoined and restrained by



                                                  19
    Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 20 of 23 PageID #:20




this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C.

§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting Defendants from further

infringing Plaintiff’s Copyrights and ordering that Defendants destroy all unauthorized copies.

Defendants’ copies, plates, and other embodiments of the PACIFIC RIM Works from which copies

can be reproduced should be impounded and forfeited to LEGEND PICTURES as instruments of

infringement, and all infringing copies created by Defendants should be impounded and forfeited

to LEGEND PICTURES, under 17 U.S.C §503.

                                    PRAYER FOR RELIEF

       WHEREFORE, LEGEND PICTURES prays for judgment against Defendants as follows:

   1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert with

       them be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using the PACIFIC RIM Trademarks and Works or any reproductions, counterfeit

           copies, or colorable imitations thereof in any manner in connection with the

           distribution, marketing, advertising, offering for sale, or sale of any product that is not

           a genuine PACIFIC RIM Product or is not authorized by LEGEND PICTURES to be

           sold in connection with the PACIFIC RIM Trademarks and Works;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           PACIFIC RIM product or any other product produced by LEGEND PICTURES that is

           not LEGEND PICTURES’ or not produced under the authorization, control, or

           supervision of LEGEND PICTURES and approved by LEGEND PICTURES for sale




                                                 20
Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 21 of 23 PageID #:21




     under the PACIFIC RIM Trademarks and associated with or derived from the PACIFIC

     RIM Works;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit PACIFIC RIM Products are those sold under the authorization, control, or

     supervision of LEGEND PICTURES, or are sponsored by, approved by, or otherwise

     connected with LEGEND PICTURES;

  d. further infringing the PACIFIC RIM Trademarks and Works and damaging LEGEND

     PICTURES’ goodwill;

  e. otherwise competing unfairly with LEGEND PICTURES in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for LEGEND PICTURES, nor authorized by LEGEND

     PICTURES to be sold or offered for sale, and which bear any of LEGEND PICTURES’

     trademarks, including the PACIFIC RIM Trademarks, or any reproductions, counterfeit

     copies, or colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     online marketplace accounts, or any other online marketplace account that is being used

     to sell or is the means by which Defendants could continue to sell counterfeit PACIFIC

     RIM Products; and

  h. operating and/or hosting websites at the Defendant Online Stores registered or operated by

     Defendants that are involved with the distribution, marketing, advertising, offering for sale,

     or sale of any product bearing the PACIFIC RIM Trademarks and/or Works or any

     reproduction, counterfeit copy or colorable imitation thereof that is not a genuine PACIFIC


                                            21
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 22 of 23 PageID #:22




            RIM Product or not authorized by Plaintiff to be sold in connection with the PACIFIC

            RIM Trademarks and/or Works.

         2) That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon LEGEND PICTURES

a written report under oath setting forth in detail the manner and form in which Defendants have

complied with paragraph 1, a through h, above;

         3) Entry of an Order that, upon LEGEND PICTURES’ request, those in privity with

Defendants and those with notice of the injunction, including any online marketplaces such as, but

not limited to, Amazon, Alipay and Alibaba Group Holding Ltd. (“Alibaba”) and any related

entities (collectively, “Alipay”), social media platforms, Facebook, YouTube, LinkedIn, Twitter,

Internet search engines such as Google, Bing and Yahoo, web hosts for the Defendant Online

Stores, shall:

    a. disable and cease providing services for any accounts through which Defendants engage in

         the sale of counterfeit PACIFIC RIM Products using the PACIFIC RIM Trademarks and/or

         Works, including any accounts associated with the Defendants listed on Schedule A;

    b. disable and cease displaying any advertisements used by or associated with Defendants in

         connection with the sale of counterfeit PACIFIC RIM Products using the PACIFIC RIM

         Trademarks and/or Works; and

    c.   take all steps necessary to prevent links to the Defendant Online Stores identified on

         Schedule A from displaying in search results, including, but not limited to, removing links

         to the Defendant Online Stores from any search index;

         4) That Defendants account for and pay to LEGEND PICTURES all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages

                                                 22
     Case: 1:21-cv-05466 Document #: 1 Filed: 10/14/21 Page 23 of 23 PageID #:23




for infringement of the PACIFIC RIM Trademarks be increased by a sum not exceeding three

times the amount thereof as provided by 15 U.S.C. § 1117;

            5) In the alternative, that LEGEND PICTURES be awarded statutory damages pursuant

to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the PACIFIC RIM Trademarks;

            6) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiffs, in an amount to be determined

at trial;

            7) That LEGEND PICTURES be awarded its reasonable attorneys’ fees and costs; and

            8) Award any and all other relief that this Court deems just and proper.


DATED: October 14, 2021                                  Respectfully submitted,

                                                         /s/ Keith A. Vogt
                                                         Keith A. Vogt (Bar No. 6207971)
                                                         Keith Vogt, Ltd.
                                                         111 West Jackson Boulevard, Suite 1700
                                                         Chicago, Illinois 60604
                                                         Telephone: 312-971-6752
                                                         E-mail: keith@vogtip.com

                                                         ATTORNEY FOR PLAINTIFF




                                                    23
